                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                                  No. 5:24-cv-89-BO

BRIER CREEK INTEGRATED PAIN &                )
SPINE, PLLC,                                 )
                                             )
                                             )
            Plaintiff,                       )
                                             )
V.                                           )            ORDER
                                             )
XAVIER BECERRA, in his official              )
Capacity as SECRETARY OF HEALTH              )
AND HUMAN SERVICES,                          )
                                             )
               Defendant.                    )


      For good cause being shown upon the motion of Defendant, IT IS HEREBY

ORDERED that Defendant is permitted to file the certified administrative record,

under seal, as a manual attachment by delivering a copy of certified administrative

record to t he Court on a flash drive in accordance with with Section V.A. of the

E.D.N.C. Electronic Case Filing Administrative Policies and Procedures Manual

(Rev. March 2017).          I I

      SO ORDERED this fltl day of ~ I l l ' ~ , 2024.

                                       cr:~~F
                                       TERRENCE W. BOYLE
                                       United States District Judge




     Case 5:24-cv-00089-BO-BM      Document 15    Filed 12/19/24      Page 1 of 1
